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                                     ATTACHMENT A

           The defendant real property is more fully described as follows:

 PARCEL A:

 A parcel of land situated in the NE1/4 of Section 9 and the NW1/4 of Section 10,
 Township 8 South, Range 85 West of the Sixth Principal Meridian, County of Eagle,
 State of Colorado, lying Northerly of the centerline of County Road No. 104; said parcel
 being more particularly described as follows:
 Commencing at the Northwest corner of said Section 10, a stone in place;
 thence S 69⁰59'14" E a distance of 1906.06 fed to a rebar and cap L.S. #19598 in place
 lying 25.00 feet Southerly of the centerline of an existing road as constructed and in
 place, the TRUE POINT OF BEGINNING;
 thence S 15⁰35'23" W a distance of 1048.17 feet to a point on the centerline of County
 Road No. 104; thence the following eight (8) courses along the centerline of said County
 Road:
 1). along the arc of a curve to the left having a radius of 331.45 feet, a central angle of
 49⁰43'44" and an arc length of 287.67 feet, (chord bears S 80⁰43' 31" W a distance of
 278.73 feet);
 2). S 55⁰ 51' 39" W a distance of 16.47 feet;
 3). along the arc of a curve to the right having a radius of 890.60 feet, a central angle of
 15⁰00'16" and an arc length of 233.23 feet, (chord bears S 63⁰21'47" W a distance of
 232.56 feet);
 4). S 70⁰51'56" W a distance of 117.09 feet;
 5). along the arc of a curve to the right having a radius of 337.36 feet, a central angle of
 63⁰58'02" and an arc length of 376.64 feet (chord bears N 77⁰09' 03" W a distance of
 357.38 feet);
 6). N 45⁰10'02" W a distance of 194.62 feet;
 7). along the arc of a curve to the left having a radius of 2050.00 feet, a central angle of
 18⁰37'07" and an arc length of 666.16 feet, (chord bears N 54⁰28'36" W a distance of
 663.23 feet);
 8). N 63⁰47'09" W a distance of 488.93 feet; thence leaving said centerline N 26⁰12'51"
 E a distance of 180.00 feet to a rebar and cap L.S. # 19598 in place; thence S 89⁰11'56"
 E a distance of 217.03 feet to a rebarb and cap L.S. #19598 in place; thence S
 69⁰43'20" E a distance of 389.54 feet to a rebar and cap L.S. #19598 in place; thence S
 41⁰33'43" E a distance of 350.52 feet to a rebar and cap L.S. #19598 in place; thence S
 50⁰23'02" E a distance of 337.08 feet to a rebar and cap L.S. #19598 in place; thence S
 75⁰47'11" E a distance of 224.76 feet to a rebar and cap L.S. #19598 in place; thence N
 71⁰54'18" E a distance of 315.48 feet to a rebar and cap L.S. #19598 in place; thence N
 47⁰30'53" E a distance of 166.33 feet to a rebar and cap L.S. #19598 in place; thence S
 84⁰17'50" E a distance of 196.42 feet to a rebar and cap L.S. #19598 in place; thence N
 07⁰51'21" E a distance of 240.93 feet to a rebar and cap L.S. #19598 in place; thence N
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 32⁰39'53" E a distance of 516.83 feet to a rebar and cap L.S. # 19598 in place lying
 25.00 feet Southerly of an existing road as constructed and in place; thence along said
 Southerly line N 57⁰43'49" E a distance of 61.39 feet to the TRUE POINT OF
 BEGINNING.

 PARCEL B

 A parcel of land situated in the NW 1/4 of Section 10, Township 8 South, Range 85
 West of the Sixth Principal Meridian, County of Eagle, State of Colorado, lying Northerly
 of the centerline of County Road No. 104; said parcel being more particularly described
 as follows:
 Commencing at the Northwest corner of said Section 10, a stone in place;
 thence S 84⁰18'45" E a distance of 2212.88 feet to a rebar and cap L.S. #19598 in place
 lying 25.00 feet Southerly of the centerline of an existing road as constructed and in
 place, the TRUE POINT OF BEGINNING;
 thence the following three (3) courses along a line being 25.00 feet Southerly and
 parallel to, the centerline of said road:

 1). along the arc of a curve to the right having a radius of 106.24 feet, a central angle of
 62⁰43'54" and an arc length of 116.32 feet, (chord bears S 42⁰43'23" E a distance of
 110.59 feet);
 2). S 11⁰21'26" E a distance of 140.83 feet;
 3). S 15⁰29'58" E a distance of 15.10 feet; thence leaving said Southerly line S
 19⁰38'30" E a distance of 998.47 feet to the North center sixteenth corner of said
 Section 10, a rebar and cap L.S. #19598 in place; thence S 00⁰04'58" E a distance of
 310.92 feet to the centerline of County Road No. 104 as constructed and in place;
 thence the following three (3) courses along said centerline:

 1). along the arc of a curve to the left having a radius of 543.38 feet, a central angle of
 60⁰55'28" and an arc length of 577.79 feet, (chord bears S 86⁰49'45" W a distance of
 550.95 feet);
 2). along the arc of a curve to the right having a radius of 407.49 feet, a central angle of
 71⁰20'10" and an arc length of 507.34 feet, (chord bears N 87⁰57'54" W a distance of
 475.20 feet;
 3). along the arc of a curve to the left having a radius of 331.45 feet, a central angle of
 22⁰06'48" and an arc length of 127.92 feet, (chord bears N 63⁰21'13" W a distance of
 127.13 feet); thence N 15⁰35'23" E a distance of 1048.17 feet to a rebar and cap L.S.
 #19598 in place lying 25.00 feet Southerly of an existing road as constructed and in
 place; thence the following seven (7) courses along a line being 25.00 feet Southerly of
 and parallel to the centerline of said road:

 1). N 57⁰43'49" E a distance of 5.43 feet;
 2). N 34⁰03'52" E a distance of 71.35 feet;
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 3). N 29⁰32'41" E a distance of 305.24 feet;
 4). N 45⁰00'54" E a distance of 150.48 feet;
 5). N 36⁰37'19" E a distance of 37.05 feet;
 6). S 69⁰45'40" E a distance of 73.22 feet;
 7). S 74⁰05'19" E a distance of 22.64 feet to the TRUE POINT OF BEGINNING.

 PARCEL C:
 A parcel of land situated in the NE1/4 of Section 9 and the NW1/4 of Section 10,
 Township 8 South, Range 85 West of the Sixth Principal Meridian, County of Eagle,
 State of Colorado, lying Southerly of the centerline of County Road No. 104; said parcel
 is more particularly described as follows:
 Commencing at the East Quarter Corner of said Section 9, a G.L.O. Brass Cap in place,
 the TRUE POINT OF BEGINNING; thence N 88⁰19'54" W a distance of 1324.37 feet to
 the Southwest corner of the SE1/4NE1/4 of said Section 9, a rebar and cap L.S. #19598
 in place; thence N 00⁰00'l8" E a distance of 1319.18 to the Northwest corner of said
 SE1/4NE1/4, also being a point on the Southerly line of Peachblow P.U.D., a rebar and
 cap L.S. #10732 in place; thence S 88⁰19'15" E a distance of 419.92 feet to the
 Southeast corner of said Peachblow P.U.D., a rebar and cap L.S. #10732 in place;
 thence N 53⁰10'43" E 202.00 feet to the Northeast corner of said Peachblow P.U.D. also
 being a point in the centerline of the Frying Pan River (from whence a rebar a cap L.S.
 #19598 bears S 53⁰06'45” W a distance of 64.12 feet for the witness corner); thence the
 following five (5) courses along the centerline of said river:

 1). S 51⁰13'37" E a distance of 78.44 feet;
 2). S 79⁰20'12" E a distance of 236.39 feet;
 3). S 84⁰09'41" E a distance of 153.59 feet;
 4). S 67⁰57'30" E a distance of 187.41 feet;
 5). S 66⁰23'12" E a distance of 132.18 feet; thence leaving said centerline N 00⁰03'17"
 W a distance of 79.00 feet to the centerline of County Road No. 104. thence the
 following nine (9) courses along said centerline:

 1). along the arc of a curve to the right having a radius of 2050.00 feet, a central angle
 of 14⁰38'22" and an arc length of 523.79 feet, (chord bears S 52⁰29'13" E a distance of
 522.35 feet);
 2). S 45⁰10'02" E a distance of 194.62 feet;
 3). along the arc of a curve to the left having a radius of 337.36 feet, a central angle of
 63⁰58'02" and an arc length of 376.64 feet, (chord bears S 77⁰09'03" E a distance of
 357.38);
 4). N 70⁰51'56" E a distance of 117.09 feet;
 5). along the arc of a curve to the left having a radius of 890.60 feet, a central angle of
 15⁰00'16" and an arc length of 233.23 feet, (chord bears N 63⁰21'47" E a distance of
 232.56 feet);
 6). N 55⁰51'39" E a distance of 16.47 feet;
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 7). along the arc of a curve to the right having a radius of 331.44 feet, a central angle of
 7l⁰50'31" and an arc length of 415.59 feet, (chord bears S 88⁰13'05” E a distance of
 388.90 feet);
 8). along the arc of a curve to the left having a radius of 407.49 feet, a central angle of
 71⁰20'10" and an arc length of 507.34 feet, (chord bears S 87⁰57'54" E a distance of
 475.20 feet);
 9). along the arc of a curve to the right having a radius of 543.38 feet, a central angle of
 60⁰55'28" and an arc length of 577.79 feet, (chord bears N 86⁰49'45" E a distance of
 550.95 feet) to a point on the North-South centerline of Section 10; thence leaving the
 centerline of said road, S 00⁰04'58" E along the North-South centerline of said Section
 10 a distance of 1007.87 feet to the center of said Section 10, a #5 rebar in place;
 thence N 88⁰21'57" W along the East-West centerline of Section 10 a distance 2647.94
 feet to the TRUE POINT OF BEGINNING.

 Together with a non-exclusive right of way for ingress and egress across the presently
 existing roadway known as Ash Road as shown on the Plat for Peachblow PUD
 Subdivision located in the N1/2N1/2 Sec 9, T 8 S, R 85 W of the 6th P.M. as recorded in
 Book 257 at Page 362. Said easement to provide access from Eagle County Road P-
 104 to the North Boundary line of the Peachblow PUD Subdivision.
